      Case 1:14-md-02542-VSB-SLC Document 1818 Filed 04/19/22 Page 1 of 3




                                                                                    ALDO A. BADINI
                                                                                                Partner
                                                                                          212-294-4601
                                                                                   ABadini@winston.com


                                                                                    April 19, 2022

VIA ECF

Hon. Vernon S. Broderick
Thurgood Marshall United States Courthouse
40 Foley Square
New York, NY 10007

Re:    In re Keurig Green Mountain Single-Serve Coffee Antitrust Litigation
       Civ. No. 1:14-md-2542 (VSB) (S.D.N.Y.) - Request for Trial Date

Dear Judge Broderick:

        I represent Plaintiffs TreeHouse Foods, Inc., Bay Valley Foods, LLC, and Sturm Foods,
Inc. (collectively, “TreeHouse”), and I write on behalf of TreeHouse and Plaintiffs JBR, Inc. (d/b/a
Rogers Family Company), McLane Company, Inc., and Direct Purchaser Plaintiffs (collectively,
“Plaintiffs”).

        It goes without saying that COVID-19 has frustrated “the just, speedy, and inexpensive
determination” of every action across the country. Fed. R. Civ. P. 1. However, we understand that
the COVID-19 restrictions at the courthouse, initially set in place nearly two years ago, were
recently adjusted, hopefully signaling a return to normalcy for civil actions.

        Plaintiffs are writing to urge this Court to seize upon recent developments to move this
case along. This case is now over eight years old. It is clear that Plaintiffs have been prejudiced
by the long delay, as key witnesses have passed away, others have become too ill to testify, and
memories have faded. As Judge Cave recently observed in this case, evidence has a tendency to
disappear with the passage of time. Indeed, the truism that justice delayed is justice denied
continues to have relevance to the case at hand.

        In light of the foregoing, Plaintiffs write to respectfully request a trial date given that
summary judgment, Daubert, and class certification motions are fully briefed and ripe for
argument and/or resolution. See Exhibit A. Establishing a trial date now will force all parties to
focus on the merits of their respective cases and to evaluate the risks and rewards of having their
fates decided by a jury. Setting a trial date now should not depend upon the resolution of pending
motions for several reasons.

       First, events have made clear that Plaintiffs’ cases are going to trial. The sheer volume of
the materials presented by Keurig in support of its motion for summary judgment, including 500

                                                 1
     Case 1:14-md-02542-VSB-SLC Document 1818 Filed 04/19/22 Page 2 of 3




“Statements of [Purportedly] Undisputed Fact” and close to 400 exhibits suggests that, at a
minimum, there are material disputed facts that can only be resolved by a fact finder. Indeed, as
Judge Cave recently observed, “[t]his is not . . . a case in which Plaintiffs are bereft of evidence to
support their claims.” ECF No. 1815 at 44.

         Second, while Plaintiffs continue to believe that they are entitled to a favorable disposition
of their summary judgment motion which will resolve at least some claims, or aspects thereof, they
value an early trial date more than the certainty of which claims will be resolved in their favor in
advance of trial.

       Finally, to the extent the Court is concerned about the effect that a trial date will have on
the Court’s crafting of a comprehensive summary judgment decision, the Court may recall the
procedure it implemented with respect to Keurig’s motion to dismiss, which was denied first with
a summary order, resulting in the lifting of the discovery stay, with a detailed reasoned opinion
following later. Keurig did not object to that procedure then and Plaintiffs see no reason why it
cannot be repeated now.

        In conclusion, Plaintiffs respectfully request a trial date. In addition, subject to Your
Honor’s Local Rules and whatever additional guidance the Court seeks to provide, Plaintiffs
respectfully request an Order from the Court that the parties meet and confer to set any intermediate
dates that are required to get the parties to that trial date, including a date for the preparation of a
Final Pretrial Order. To the extent that the Court desires oral argument on any of the pending
motions,1 Plaintiffs would appreciate the Court’s views on the scheduling of those arguments as
well.

       If the Court wishes, Plaintiffs are prepared to attend a Case Management Conference at the
Court’s earliest convenience to discuss any or all of these matters.


                                                                          Respectfully submitted,
                                                                          By: /s/ Aldo A. Badini
                                                                              Aldo A. Badini
                                                                              Winston & Strawn LLP
                                                                              200 Park Avenue
                                                                              New York, NY 10166
                                                                              (212) 294-6700
                                                                              abadini@winston.com

                                                                          Counsel for Plaintiffs TreeHouse
                                                                          Foods, Inc., Bay Valley Foods,
                                                                          LLC, and Sturm Foods, Inc.

1
 Plaintiffs note in that regard that the Court has already denied Keurig’s motion for oral argument on its Daubert
motions. ECF No. 1622.

                                                        2
      Case 1:14-md-02542-VSB-SLC Document 1818 Filed 04/19/22 Page 3 of 3




cc:    Counsel for All Parties (via ECF)




                                           3
